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                                 UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF MISSOURI
                                         EASTERN DIVISION


     In re:                                                                  Chapter 11

     ABENGOA BIOENERGY US HOLDING LLC, et al.,                               Case No. 16-41161-659
                                                                             Jointly Administered
     Debtors.
                                                                             Re: Dkt No. 2086

                       ORDER APPROVING GUC LIQUIDATING TRUSTEE’S
                         THIRTY-NINTH OMNIBUS CLAIMS OBJECTION
                          SEEKING TO RECLASSIFY CERTAIN CLAIMS

              Upon the GUC Liquidating Trustee’s Thirty-Ninth Omnibus Claims Objection Seeking to

 Reclassify Certain Claims) [Dkt. No. 2086] (the “Objection”) 1 filed by the GUC Liquidating

 Trustee for an order (the “Order”) pursuant to Bankruptcy Code sections 502(b) and 1141(a),

 Bankruptcy Rule 3007 and Local Rule 3007(C) and the Claims Objection Procedures Order; and

 this Court having jurisdiction to consider the Objection and the relief requested therein pursuant

 to 28 U.S.C. §§ 157 and 1334; and venue being proper before this Court pursuant to 28 U.S.C. §§

 1408 and 1409; and consideration of the Objection and the requested relief being a core proceeding

 that the Court can determine pursuant to 28 U.S.C. § 157(b)(2); and the GUC Liquidating Trustee

 having represented that proper notice of the Objection has been given and that no other or further

 notice need be given; and there being no responses filed to the Objection; and the Court having

 reviewed the Objection; and the relief requested in the Objection being in the best interests of the

 debtors, their creditors, their estates and all other parties in interest in these cases; and the Court

 having determined that the legal and factual bases set forth in the Objection establish just cause

 for the relief granted herein; and after due deliberation and sufficient cause appearing therefor,



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     Capitalized terms not defined in this Order shall have the meanings given to them in the Objection.


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             IT IS HEREBY ORDERED THAT:

             1.     The Objection is SUSTAINED.

             2.     The claims listed on Schedule A attached to this Order (the “Reclassified Claims”)

 are reclassified as general unsecured claims against the applicable Debtor identified on Schedule

 A.

             3.     This Order is without prejudice to the rights of the GUC Liquidating Trustee or any

 other party in interest to object to any of the Reclassified Claims or any other claim on any grounds.

             4.     This Order shall be effective immediately upon its entry.

             5.     The GUC Liquidating Trustee, the Debtors, the Claims Agent, and the Clerk of this

 Court are authorized to modify the claims registers to indicate the reclassification of the

 Reclassified Claims as set forth on Exhibit A.

             No later than two (2) business days after entry of this Order, counsel for the GUC Liquidating

 Trustee shall serve a copy of this Order on the Notice Parties and shall file a certificate of service no later

 than 24 hours after service.


                                                                     KATHY A. SURRATT-STATES
                                                                      Chief U.S. Bankruptcy Judge
 DATED: December 23, 2020
 St. Louis, Missouri
 jjh




 Order Prepared by:
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                                  SCHEDULE A




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                                                                                                               Claims Objection
                                                                                                    Abengoa Liquidation Trust/ ABUS, LLC et al
                                                                                                           Lead Case No.: 16-41161

                                                              Claim
                    Creditor Name and Address   Case No.    No. to be          Debtor           Claim Date        Claim Type         Claim Amount      Claim Type       Claim Amount                                            Basis for
                                                           Reclassified                                             as Filed             as Filed     as Reclassified   as Reclassified                                     Claim Objection
Silicon Valley Bank                                                                                                                                                                       This claim is unsecured, and although it does not appear in the books and records, is
c/o Zach Norris                                                           Abengoa Bioenergy                                                                                               supported by ample evidence of the claimed amount.
300 Interlocken Crescent, Suite 600             16-41167       5-1           Trading LLC                                                                                                  The claim should be allowed in full as a general unsecured claim.
Brookfield, CO 80021                                                                             9/15/2016          Secured         $5,218,431.13 U     Unsecured       $5,218,431.13
Red Brick Electric, Inc.                                                                                                                                                                  This claim is unsecured and the mechanics lien securing the claim was released
Hinkle Law Firm LLC                                                       Abengoa Bioenergy                                                                                               prior to the Colwich plant's sale. The claim should be allowed in its full amount
301 North Main, Suite 2000                      16-41161      176-1        US Holdings, LLC                                                                                               and supersedes scheduled claim no. 313329.
Wichita KS 67202-4820                                                                            9/30/2016          Secured           $127,719.27       Unsecured       $127,719.27
Cee Kay Supply Inc                                                                                                                                                                        This claim represents pre-petition liabilities and should be allowed in its full amount
5835 Manchester Ave                                                       Abengoa Bioenergy                                                                                               as a general unsecured claim. It also supersedes scheduled claim 500402.
St Louis MO 63110                               16-44195      11-1           of Illinois LLC
                                                                                                 9/15/2016          Admin               $685.31         Unsecured          $685.31
ICM, Inc., c/o Legal Office                                                                                                                                                               This claims is filed in the wrong case and should be allowed in its full amount as a
310 N 1st St.                                                             Abengoa Bioenergy                                                                                               general unsecured claim in the Abengoa Bioenergy of Illinois case (Case no. 16-44195)
Colwich, KS 67030                               16-41165      16-1          Company, LLC
                                                                                                 6/2/2016         Unsecured            $9,533.75        Unsecured         $9,533.75
ICM, Inc., c/o Legal Office                                                                                                                                                               This claims is filed in the wrong case and should be allowed in its full amount as a
310 N 1st St.                                                             Abengoa Bioenergy                                                                                               general unsecured claim in the Abengoa Bioenergy of Indiana case (Case no. 16-44196)
Colwich, KS 67030                               16-41165      17-1          Company, LLC                                                                                                  and supersedes scheduled claim 500352.
                                                                                                 6/2/2016         Unsecured            $4,976.00        Unsecured         $4,976.00
